 Case 14-69570-lrc      Doc 28      Filed 12/23/14 Entered 12/23/14 10:37:12       Desc Main
                                    Document      Page 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In Re: Gary Thomas Stevens,                   )                       Chapter 13
      Michelle Huetter Stevens,               )       Case No., 14-69570-mhm
       Debtors.                               )
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                                              )
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                          WITHDRAWAL OF DOCKET ENTRY 23

      Docket entry number 23 is hereby withdrawn due to incorrect filing.




This 22nd day of December, 2014.

                                                       PURCELL LAW FIRM, P.C.
125 Townpark Dr.
Ste. 300                                                /s/ Matthew E. Purcell
Kennesaw, GA 30144                                          Matthew E. Purcell
678-296-1106                                                Attorney for Debtor
                                                            Bar # 159093
 Case 14-69570-lrc       Doc 28       Filed 12/23/14 Entered 12/23/14 10:37:12        Desc Main
                                      Document      Page 2 of 3




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

In Re: Gary Thomas Stevens,                  )                      Chapter 13
       Michelle Huetter Stevens,             )      Case No., 14-69570-mhm
        Debtors.                             )
                                             )
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----------------------------------------- ----------------------------
                                             )
                                             )
                                             )
       Gary Thomas Stevens,                  )
       Michelle Huetter Stevens,             )
                                             )      CONTESTED MATTER
                                             )
                       Movants,              )
                                             )
       v.                                    )
                                             )
       Real Time Resolutions, Inc.,          )
                                             )
                       Respondent,           )

                                   CERTIFICATE OF SERVICE

       I hereby certify that on the day stated below, a copy of the attached Withdrawal of Docket

Entry 23 will be mailed by, depositing a copy of the same in the United States mail, in a properly

addressed envelope, with sufficient postage and to insure delivery to:

       Chapter 13 Trustee, Adam M. Goodman, Suite 200, 260 Peachtree Street, Atlanta, GA

30303 and:

       Real Time Resolutions, Inc., c/o Christopher Gramlich Chief Operating Officer, 1349

Empire Central Drive, Suite #150, P.O. Box 36655, Dallas, Texas 75247-4029 (by certified mail)

and;

       Richard Maner, Attorney for Ocwen Loan Servicing LLC, 5775 Glenridge Drive, Building

D, Suite 100, Atlanta, GA 30328 (by certified mail) and;

       Gary and Michelle Stevens, 1476 Fallsbrook Court, Acworth, GA 30101.
 Case 14-69570-lrc     Doc 28      Filed 12/23/14 Entered 12/23/14 10:37:12   Desc Main
                                   Document      Page 3 of 3




This 22nd day of December, 2014.

                                                  PURCELL LAW FIRM, P.C.
125 Townpark Dr.
Ste. 300                                          /s/ Matthew E. Purcell
Kennesaw, GA 30144                                    Matthew E. Purcell
678-296-1106                                          Attorney for Debtor
                                                      Bar # 159093
